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      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      CENTRAL DIVISION


 CARLOS VELASQUEZ,                                         MEMORANDUM DECISION
                                                               AND ORDER
                Plaintiff,
                                                         Case No. 2:20-cv-00205-DB-PMW
 v.

 STATE OF UTAH et al.,                                        District Judge Dee Benson

                Defendants.                           Chief Magistrate Judge Paul M. Warner


       Before the court are Plaintiff Carlos Velasquez’s (“Plaintiff”) “Motion to Set Aside for

Fraud on the Court” (Dkt. No. 20) and “Motion for Reassignment of the Judge” (Dkt. No. 25). .

The court elects to determine the motions on the basis of the written memoranda and finds that

oral argument would not be helpful or necessary. DUCivR 7-1(f).

       Plaintiff’s “Motion to Set Aside for Fraud on the Court” makes a variety of claims, citing

the Older Americans Act and Section 1988 of the Civil Rights Act. Dkt. No. 20 at 2-3. Plaintiff

argues that the court’s decision dismissing this action “lacks subject-matter” and “is not related

to any part of the petitioner’s complaint.” Id. at 4. Plaintiff also accuses this court of various

procedural deficiencies such as a failure to notify “those parties served.” Id. at 9. Under the

heading “Conclusions,” Plaintiff argues that this court is unduly prejudiced against Plaintiff and

that this court’s dismissal of Plaintiff’s case was “fraudulent.” Id. at 11-12. Plaintiff further

criticizes the opinion of Judge Nuffer, upon which this court relied in part in dismissing this

action, claiming that Judge Nuffer’s opinion was “speculative.” Id. at 12. Plaintiff contends that

the Court of Appeals (seemingly the Tenth Circuit) “did not recognize any statutory question that
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declared Velasquez seeks repair against the State court judgment, when it was a plenary

challenge against a statute as stated most generally under the statement of jurisdiction.” [sic] Id.

at 11-12.

       The core of Plaintiff’s argument appears to be that this court’s application of the in forma

pauperis (“IFP”) statute “distort[ed] the nature of the case” in an attempt to get rid of the suit and

“reduce the time the court works upon it.” Id. at 16. Plaintiff contends that this court and Judge

Nuffer are therefore guilty of “conspiracy, contempt, fraud, obstruction, and perjury.” Id.

(emphasis removed). The “fraud on the court” complained of by Plaintiff, then, was allegedly

committed by the court itself when it dismissed the case under the IFP statute.

       Upon receipt of this motion, the court examined the complaint anew in light of the IFP

statute. Under that statute, the court is required to “dismiss the case at any time if the court

determines that the action . . . fails to state a claim on which relief may be granted.” 28 U.S.C. §

1915(e)(2)(B)(ii). After renewed examination, the complaint fails to state a claim on which relief

may be granted. The court therefore determines that the prior decision dismissing the case was

correct. No fraud was committed by either this court or Judge Nuffer in dismissing Plaintiff’s

actions because they were properly dismissed under the IFP statute.

       Plaintiff’s “Request for Reassignment of the Judge” questions this court’s efficiency and

impartiality in addressing the “Motion to Set Aside for Fraud on the Court.” Plaintiff’s

complaints about efficiency apparently stem from the fact that the Motion to Set Aside was filed

on May 7, 2020 and has not been resolved prior to this order. Plaintiff’s allegation that this court

is not impartial apparently stems solely from the fact this court decided against Plaintiff in


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dismissing the underlying action. This court has no personal or professional connections that

would call its impartiality into question in this matter. Any delay in disposing of Plaintiff’s

Motion to Set Aside did not prejudice Plaintiff’s ability to seek justice from this court. Plaintiff’s

“Request for Reassignment of the Judge” is therefore denied.

                                          CONCLUSION

       Based upon the foregoing, Plaintiff’s Motions are hereby DENIED.



       DATED this 8th day of July, 2020.

                                               BY THE COURT:




                                               DEE BENSON
                                               United States District Judge




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